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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION,                          )
      125 Broad Street              )
      9 Floor
       th                           )
      New York, NY 10004            ) COMPLAINT FOR
                                    ) DECLARATORY AND
             and                    ) INJUNCTIVE RELIEF
                                    )
JOURNALISM DEVELOPMENT              ) Case No. _____________________
NETWORK, INC.                       )
      7 Saint Paul Street           )
      Suite 820                     )
      Baltimore, MD 21202           )
                                    )
                   Plaintiff,       )
                                    )
             v.                     )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE,                           )
      2201 C Street NW              )
      Washington, DC 20520,         )
                                    )
UNITED STATES AGENCY FOR            )
INTERNATIONAL DEVELOPMENT, )
      1300 Pennsylvania Ave. NW     )
      Washington, DC 20004,         )
                                    )
MARCO RUBIO, Secretary of State, )
      and Acting Administrator of   )
      United States Agency for      )
      International Development,    )
      United States Department of   )
      State,                        )
      2201 C Street NW              )
      Washington, DC 20520,         )
                                    )
OFFICE OF MANAGEMENT AND            )
BUDGET,                             )
      725 17th Street NW            )
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      Washington, DC 20503,         )
                                    )
RUSSELL VOUGHT, Director,           )
      Office of Management and      )
      Budget,                       )
      725 17th Street NW            )
      Washington, DC 20503,         )
                                    )
and                                 )
                                    )
DONALD TRUMP, President of the )
      United States of America,     )
      1600 Pennsylvania Avenue NW )
      Washington, DC 20050,         )
                                    )
                   Defendants.      )
___________________________________ )

                                INTRODUCTION

      1.     This action seeks declaratory and injunctive relief with respect to a

series of orders issued by President Donald Trump and his administration that—

illegally and unconscionably—froze funding and work related to nearly every United

States foreign assistance mission. The Executive Order titled “Reevaluating and

Realigning United States Foreign Aid,” Exec. Order. No. 14169, 90 Fed. Reg. 8619

(hereafter, Foreign Aid Executive Order), issued on January 20, 2025, exceeds

President Trump’s constitutional authority and violates his duty under the Take Care

Clause of the Constitution, and subsequent orders by federal agencies to implement

the Foreign Aid Executive Order’s directives have resulted in unlawful actions that

are harming and will harm countless individuals and entities, including plaintiffs.

      2.     The Foreign Aid Executive Order directs the Office of Management and

Budget (OMB) to effectuate a “90-day pause in United States foreign development




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assistance for assessment of programmatic efficiencies and consistency with United

States foreign policy.” Id. The funding freeze applied “immediately” to all “obligations

and disbursements of development assistance funds.” Id. After that 90-day period,

“[t]he responsible department and agency heads, in consultation with the Director of

OMB, will make determinations … whether to continue, modify, or cease each foreign

assistance program … with the concurrence of the Secretary of State.” Id.

      3.     Four days after the January 20 Executive Order, the Secretary of State

directed his staff to halt “foreign assistance funded by or through” the Department of

State and USAID and required the “immediate[ ]” issuance of “stop-work orders” for

existing foreign assistance awards. 1

      4.     The Department of State and USAID then issued orders to recipients of

foreign assistance funding, including grantees like plaintiffs, requiring them to

immediately stop work and to minimize the incurrence of costs allocable to the work

covered by the order during the period of work stoppage.

      5.     Congress has neither cancelled appropriated foreign assistance funds

nor permitted deferral of grant awards, and it has not authorized blanket stop-work

directives to grantees. Moreover, the terms of the grants do not allow arbitrary,

unilateral orders to pause or suspend work or funding.




1 Dep’t of State, Memo. 25 STATE 6828 (attached as Exhibit A); see also U.S. Dep’t of

State, Office of the Spokesperson (Jan. 29, 2025) https://www.state.gov/prioritizing-
americas-national-interests-one-dollar-at-a-time/ (confirming the existence of the
January 24 order).


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      6.     The January 20 Executive Order, the January 24 order of the Secretary

of State, and the stop work orders of the Department of State and USAID are

unlawful. Implementation and enforcement of these orders should be enjoined.

                           JURISDICTION AND VENUE

      7.     This Court has jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. § 1361.

      8.     Venue is proper in this district because a substantial part of the acts or

omissions giving rise to the claim occurred in this judicial district. 28 U.S.C. § 1391(e).

                                       PARTIES

      9.     Plaintiff AIDS Vaccine Advocacy Coalition (AVAC) is a New York-based

501(c)(3) non-profit corporation that works to hasten the end of the global HIV/AIDS

epidemic by accelerating development and delivery of HIV prevention options.

      10.    Plaintiff Journalism Development Network, Inc. (JDN) is a Maryland-

based 501(c)(3) non-profit corporation that supports a global consortium of journalists

from more than 70 non-profit investigative centers and regional news organizations

across the world. JDN works to help people better understand how organized crime

and corruption affect their lives.

      11.    Defendant United States Department of State is a federal agency

headquartered in Washington, DC, with responsibility for United States foreign

relations and foreign policy.

      12.    Defendant USAID is a federal agency headquartered in Washington,

DC, with responsibility for international development and humanitarian assistance.




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      13.     Defendant Marco Rubio is the Secretary of State and is the highest-

ranking official within the Department of State and the Acting Administrator of

USAID and highest-ranking official within USAID. Plaintiffs sue Secretary Rubio in

his official capacity. On January 24, 2025, Secretary Rubio issued an order freezing

federal funding allocated to plaintiffs and ordering plaintiffs to stop work on their

grant projects.

      14.     Defendant OMB is a federal agency headquartered in Washington, DC,

with responsibility for overseeing the management of federal financial assistance.

OMB was directed by Defendant Trump to implement the Foreign Aid Executive

Order.

      15.     Defendant Russell Vought is the Director of OMB and is the agency’s

highest-ranking official. Plaintiffs sue Director Vought in his official capacity.

      16.     Defendant Donald Trump is the President of the United States and

issued the Foreign Aid Executive Order.

                                   BACKGROUND

Plaintiffs’ Federal Grants

      17.     Through the President’s Emergency Plan for Aids Relief (PEPFAR)—a

program launched in 2003 to address the global HIV/AIDS epidemic—Plaintiff AVAC

has received federal grants for global HIV prevention work for over a decade. In June

2016, USAID entered into a five-year Cooperative Agreement with AVAC to fund the

organization’s HIV Prevention and Biomedical Prevention Research Project. Through

the Cooperative Agreement, AVAC receives federal PEPFAR grant funding to




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support a coalition, CASPR, that focuses on accelerating biomedical HIV prevention

research. CASPR works in African countries with the highest burden of new HIV

infections and performs critical roles in supporting and accelerating prevention

research. Among other things, CASPR oversees HIV prevention research projects to

ensure that clinical trial participants’ rights are protected, and it translates HIV

prevention research into accessible resources for policymakers, clinical trial

participants, and other community members affected by HIV prevention research. In

2021, USAID extended the agreement for five years—to June 19, 2026—and doubled

the amount of funding provided to AVAC under the grant.

       18.    AVAC’s grant comes from funds appropriated by Congress. In the

Further Consolidated Appropriations Act of 2024 (FCAA), Congress appropriated

funding to carry out PEPFAR work like AVAC’s, including, specifically, to fund

“programs for the prevention, treatment, control of, and research on HIV/AIDS …

and for assistance to communities severely affected by HIV/AIDS.” Pub. L. No. 118-

47, Div. F, tit. III, 138 Stat. 740 (2024).

       19.    Plaintiff JDN is the recipient of a range of grants from the State

Department to help investigative news outlets across the world succeed and serve the

public. Among its grant-funded efforts are those that build and sustain local

journalist networks in places ranging from the Pacific Islands to Paraguay by

providing journalists with access to reporting partners, investigative technology and

data, robust editing and fact-checking, digital and physical security support, and




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protection against harassment. These grants all have periods of performance that

stretch well-beyond the dates JDN received stop work notices.

      20.    JDN is also the recipient of State Department grants that support its

work through the Global Anti-Corruption Consortium (GACC). GACC exists to bring

together journalists, advocates, and anti-corruption stakeholders to tackle

transnational corruption and facilitate action by government, law enforcement, and

international organizations. It is comprised of over 100 reporting partners, 98 civil

society organizations, and two universities across 76 countries. One GACC grant has

a period of performance that stretches to September 30, 2025; another stretches to

September 30, 2027.

      21.    JDN is also the recipient of USAID grant funding for its Strengthening

Transparency and Accountability Through Investigative Reporting (STAIR) program.

Through that program, JDN supports collaborative investigative journalism

networks in Europe and Eurasia. JDN first received a grant for STAIR in 2022;

subsequent agreements increased funding and lengthened the period of performance

for the program through September 8, 2027.

      22.    Funding for JDN grants is appropriated through the FCAA. In that

statute, Congress directed that appropriated funds “should be made available for

democracy programs,” a category that includes “programs that support good

governance, credible and competitive elections, freedom of expression, association,

assembly, and religion, human rights, labor rights, independent media, and the rule

of law, and that otherwise strengthen the capacity of democratic political parties,




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governments, nongovernmental organizations and institutions, and citizens to

support the development of democratic states and institutions that are responsive

and accountable to citizens.” Id. at Div. F, tit. VII, 138 Stat. 786.

       23.      The FCAA also directs that appropriated funds for democracy programs

“shall be made available to support and protect civil society activists and journalists

who have been threatened, harassed, or attacked[.]” Id. at Div. F, tit. VII, 138 Stat.

787.

       24.      The FCAA further directs that appropriated funds for democracy

programs “shall be made available for programs to protect international freedom of

expression and independent media, including through multilateral initiatives.” Id.

The Executive Order and the State Department Communiqué

       25.      On January 20, 2025, defendant President Trump signed the Foreign

Aid Executive Order.

       26.      The Foreign Aid Executive Order directs defendant OMB to effectuate,

purportedly through the agency’s “apportionment authority,” a 90-day freeze on

“obligations and disbursements of development assistance funds to foreign countries

and implementing non-governmental organizations, international organizations, and

contractors.”

       27.      The Foreign Aid Executive Order further directs “department and

agency heads, in consultation with the Director of OMB” to determine “whether to

continue, modify, or cease each foreign assistance program.”




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        28.   On January 24, 2025, defendants State Department and Secretary

Rubio issued a communiqué to all U.S. diplomatic and consular posts purporting to

implement the Foreign Aid Executive Order by directing them to “pause[ ] all new

obligations of funding, pending a review, for foreign assistance programs funded by

the Department and [USAID].” 2 For existing foreign assistance awards, contracting

officers and grant officers were directed to “immediately issue stop-work orders …

until such time as the Secretary shall determine, following a review.” 3

        29.   Although the communiqué frames the suspension of federal assistance

as a temporary “pause,” defendants State Department and Rubio have stated that

spending on obligated funds has been “prevented” and that many recipients of foreign

assistance will not receive the funding to which they are entitled under the terms of

the grants. 4 Indeed, reports indicate that, as of Thursday, February 6, about 800

awards and contracts administered through USAID had been canceled. 5




2 Dep’t of State, Memo. 25 STATE 6828.


3 Id.


4 Office of the Spokesperson, Dep’t of State, Prioritizing America’s Interests One
Dollar at a Time (Jan. 29, 2025), https://www.state.gov/prioritizing-americas-
national-interests-one-dollar-at-a-time/ (“[E]ven at this early stage, over
$1,000,000,000 in spending not aligned with an America First agenda has been
prevented.”).
5 Karoun Demirjian and Aishvarya Kavi, Trump Administration to Lay Off Nearly

All    of  U.S.   Aid   Agency’s    Staff,    N.Y.    Times     (Feb.      6,     2025),
https://www.nytimes.com/2025/02/06/us/politics/usaid-job-cuts.html.

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Agency Orders to Grantees

      30.     Shortly after the issuance of the State Department communiqué,

defendants State Department and USAID began to issue stop-work orders to

recipients of federal foreign assistance awards.

      31.     On January 27, 2025, plaintiff AVAC received a stop-work order from

USAID,      directing   AVAC   to   “immediately    suspend   work”    and   to   “cease

implementation immediately” of the programs funded by the Cooperating Agreement.

AVAC has received no clarification or further communication from USAID.

      32.     Beginning on January 24, 2025, plaintiff JDN received a flurry of stop-

work orders, often without any indication of what awards they were in reference to.

The stop-work orders contained vague and, at times, contradictory statements. One

letter terminating an award provided that “all foreign assistance awards are

immediately suspended” in one sentence, and in the next indicated that the specific

award was suspended on the basis that it “no longer effectuates agency priorities.”

Other stop-work orders provided that that the suspension was “not due to any actions

by your organization” but rather to “give the new administration time to review the

use of Foreign Assistance Funds.”

The OMB Memorandum

      33.     On January 27, 2025, defendant OMB and then-OMB Acting Director

Matthew Vaeth issued a memorandum titled “Temporary Pause of Agency Grant,




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Loan, and Other Financial Assistance Programs.” 6 The memorandum identified

several executive orders issued by defendant Trump, including the Foreign Aid

Executive Order, and directed all federal agencies to “temporarily pause all activities

related to obligation or disbursement of all Federal financial assistance, and other

relevant agency activities that may be implicated by [those] executive orders,

including, but not limited to, financial assistance for foreign aid, nongovernmental

organizations, DEI, woke gender ideology, and the green new deal.”

      34.    The OMB order was stayed and later enjoined. See Minute Entry for

Emergency Hearing Held on 1/28/2025, National Council of Nonprofits v. Office of

Management and Budget, 1:25-cv-00239 (D.D.C.); Memorandum Opinion and Order,

Feb. 3, 2025, National Council of Nonprofits v. Office of Management and Budget,

1:25-cv-00239 (D.D.C.). On January 29, OMB rescinded the memorandum. See OMB

Mem. M25-14, Rescission of M-25-13 (Jan. 29, 2025).

      35.    Despite the rescission of the OMB memorandum, White House Press

Secretary Karoline Leavitt has stated that “[t]he President’s [executive orders] on

federal funding remain in full force and effect, and will be rigorously implemented.” 7

      36.    In separate litigation challenging the OMB memorandum, the United

States District Court for the District of Rhode Island issued a temporary restraining

order directing that OMB and other agency defendants “shall not pause, freeze,

impede, block, cancel, or terminate” obligations to provide federal financial assistance



6       OMB       Mem-25-13         (Jan.       27,      2025),     available   at
https://www.nytimes.com/interactive/2025/01/27/us/omb-memo.html.
7 @PressSec, X (Jan. 29, 2025), https://x.com/PressSec/status/1884672871944901034/.



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to plaintiff states and directing that any effort to review financial assistance

programs, as identified in the OMB Memorandum, “shall not affect a pause, freeze,

impediment, block, cancellation, or termination of Defendants’ compliance with such

awards and obligations, except on the basis of the applicable authorizing statutes,

regulations, and terms.” Temporary Restraining Order, Jan. 31, 2025, State of New

York v. Donald Trump, 25:cv-00039 (D.R.I.).

      37.   Recipients of foreign assistance awards, including plaintiffs, and

including, on information and belief, hundreds of other organizations, attempted to

draw down State Department and USAID grant funding after the issuance of these

temporary restraining orders. They remain to this day unable to access obligated

funds pursuant to their grants.

Consequences of Defendants’ Funding Freeze and Stop Work Orders

      38.   In response to defendants’ action, U.S. programs ranging from provision

of antiretroviral medications to HIV patients to efforts to combat international

narcotrafficking to anti-corruption programming ground to an immediate halt.

Predictably, chaos ensued. Non-governmental organizations across the world “began

shutting doors, sending staff home and turning away their dependents.” 8 Thousands




8 Laura Kelly and Nathaniel Weixel, Chaos and uncertainty swirl around Trump’s

foreign        aid     freeze,    The        Hill     (Jan.      30,       2025),
https://thehill.com/homenews/administration/5114561-trump-rubio-foreign-aid-
freeze/.


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of American employees working for organizations that receive federal grant funding

have been furloughed or laid off entirely. 9

         39.   The enormity of Defendants’ actions cannot be overstated. Millions

across the world are affected. Staff who operate humanitarian operations at refugee

camps in Syria were told to stop work, leaving thousands of people vulnerable to

instability and violence at the hands of ISIS. 10 Colombian anti-narcotrafficking

helicopters were grounded for lack of fuel. 11 Soup kitchens that feed nearly a million

people in famine-stricken Khartoum have shut down. 12 Clinical trials that had been

underway in Uganda for a potentially lifesaving children’s tuberculosis treatment

stopped. 13 In the Ivory Coast, a program to collect intelligence on Al Qaeda shut

down. 14 Toddlers in Zambia have been deprived of rehydration salts to treat life-



9 Sara Cook, et al., Rubio foreign aid freeze leads to USAID staff suspensions and

contractor     terminations,      CBS       News        (Jan.      28,            2025),
https://www.cbsnews.com/news/rubio-foreign-aid-freeze-leads-to-usaid-staff-
suspensions-contractor-terminations/.
10 Tom Bateman, How a US freeze upended global aid in a matter of days, BBC (Jan.

29, 2025), https://www.bbc.com/news/articles/c3604r84zjyo.
11 David Pilling, et al., Donald Trump’s foreign aid freeze sparks global funding crisis,

Financial Times (Jan. 30, 2025), https://www.ft.com/content/59e008d2-ca81-4a31-
9e4a-fa10f7497797/.
12 Sui-Lee Wee, et al., How the World is Reeling from Trump’s Aid Freeze, N.Y. Times

(Jan. 31, 2025),        https://www.nytimes.com/2025/01/31/world/asia/trump-usaid-
freeze.html.
13 Stephanie Nolan, Abandoned in the Middle of Clinical Trials, Because of a Trump

Order, N.Y. Times (Feb. 6, 2025), https://www.nytimes.com/2025/02/06/health/usaid-
clinical-trials-funding-trump.html.
14 Id.




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threatening diarrhea. 15 Doctors at U.S.-funded medical facilities in Sudan that treat

severely malnourished children were forced to choose whether to obey Defendants’

orders and “immediately stop their operations or to let up to 100 babies and toddlers

die.” 16 They continued to administer their life-saving care, but it is “a matter of days,

not weeks, before they run out” of funds for supplies like IV bags. 17

Injuries to Plaintiffs

         40.   The abrupt cessation of funding and the stop-work order has been

disastrous for AVAC. Its grant funding through USAID constitutes forty percent of

its total operating budget. As part of its federally supported work, AVAC supports

and funds CASPR, a working group of African civil society organizations that

conducts research on HIV prevention and translates that research into resources for

local communities, including medical research trial participants. The orders freezing

funding and requiring AVAC to stop work on federally funded projects are

devastating to AVAC’s ability to provide these services. As a result of the challenged

actions, AVAC was forced to halt all CASPR work, resulting in disruption to HIV

prevention research and development and to clinical trials.


15 Stephanie Nolen, Health Programs Shutter Around The World As Trump Pauses

Foreign        Aid,        N.Y.        Times        (Feb.       1,        2025),
https://www.nytimes.com/2025/02/01/health/trump-aid-malaria-tuberculosis-
hiv.html?smid=nytcore-ios-share&referringSource=articleShare.
16Brett Murphy and Anna Maria Barry-Jester, “People Will Die”: The Trump
Administration Said it Lifted its Ban on Lifesaving Humanitarian Aid. That’s Not
True, ProPublica (Jan. 31, 2025), https://www.propublica.org/article/trump-state-
department-usaid-humanitarian-aid-freeze-ukraine-gaza-sudan.
17 Id.




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       41.    As of today, AVAC has had to lay off seven of its forty-six person staff

because of the loss of USAID funding. Without immediate action, it will be forced to

lay off ten more people in the next month.

       42.    The orders have already caused severe harm to AVAC. With every hour

the pause continues, AVAC’s ability to do its work and advance its mission to end

AIDS and prepare for future pandemics become increasingly more difficult.

       43.    The abrupt cessation of funding has likewise devastated JDN’s global

operations. The organization’s budget was abruptly slashed by 29 percent, forcing

JDN to lay off 20 percent of its staff and reduce salaries and work time for the

majority of the remaining employees.

       44.    JDN’s mission to support investigative journalists is being harmed in an

irreparable and ongoing way. If funding is not restored, JDN will have no choice but

to close programs in a half dozen countries, resulting in the stoppage of investigative

journalism operations in Asia, the Pacific, Latin America and Europe.

                              FIRST CAUSE OF ACTION

                Violation of Separation of Powers (Defendant Trump)

       45.    Plaintiffs have a non-statutory right of action to declare unlawful official

action that is ultra vires.

       46.    The President of the United States has only those powers conferred on

him by Article II of the Constitution and federal statutes.

       47.    Federal legislation must be passed by both chambers of Congress before

it may be presented to the President and, if signed, become law. U.S. Const., art. I.




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The President has no authority under the Constitution unilaterally to amend federal

statutes.

       48.    By requiring agencies to consider and take final action by withholding

funding based on factors that are impermissible and arbitrary under the governing

statutes, the Executive Order purports to amend Congressional appropriations

statutes.

       49.    The Foreign Assistance Executive Order exceeds presidential authority

and usurps legislative authority conferred by the Constitution on the Congress, in

violation of the separation of powers.

       50.    Plaintiffs will suffer irreparable injury if the Executive Order is not

declared unlawful, and plaintiffs have no adequate remedy at law.

       51.    The public interest favors entry of a declaration that the Executive

Order is unconstitutional, in violation of the separation of powers, because

implementation of the Executive Order has caused and will continue to cause

needless death, destruction, and immiseration; will continue to threaten U.S. global

security; and will directly result in thousands of Americans losing jobs and income.

                              SECOND CAUSE OF ACTION

                  Violation of Take Care Clause (Defendant Trump)

       52.    Plaintiffs have a non-statutory right of action to declare unlawful official

action that is ultra vires.

       53.    Under the Constitution, the President has the duty to “take Care that

the Laws be faithfully executed.” U.S. Const. art. II, § 3




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      54.    The Take Care Clause is judicially enforceable against presidential

action that undermines statutes enacted by Congress and signed into law. See, e.g.,

Angelus Milling Co. v. Comm’r of Internal Revenue, 325 U.S. 293, 296 (1945) (“Insofar

as Congress has made explicit statutory requirements, they must be observed and

are beyond the dispensing power of [the Executive Branch].”); Kendall v. United

States ex. Rel. Stokes, 37 U.S. (12 Pet.) 524, 612–13 (1838).

      55.    The Take Care Clause limits the President’s power and ensures that he

will faithfully execute Congress’s laws.

      56.    Under the Constitution, the President lacks the authority to direct

federal officers or agencies to act in derogation of a federal statute.

      57.    Plaintiff will suffer irreparable injury if the Executive Order is not

declared unlawful and in violation of the Take Care Clause. Plaintiff has no adequate

remedy at law.

      58.    The public interest favors entry of a declaration that the Executive

Order is contrary to law and unconstitutional, because implementation of the

Executive Order will cause needless death, destruction, and immiseration; continue

to threaten U.S. global security; and directly result in thousands of Americans losing

jobs and income.

      59.    Accordingly, the Executive Order is in violation of the Take Care Clause

and compliance with or enforcement of the Executive Order violates the Take Care

Clause.




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                           THIRD CAUSE OF ACTION

              Violation of the APA—Unlawful Suspension of Grants
                        and Issuance of Stop-Work Orders
  (Defendants Department of State, USAID, Secretary Rubio, OMB, and Director
                                    Vought)

      60.    The Administrative Procedure Act (APA) authorizes this Court to hold

unlawful and set aside final agency action that is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

      61.    Defendants’ suspension of plaintiffs’ grant funding and issuance of stop-

work orders constitute final agency action under the APA.

      62.    Agency defendants suspended plaintiffs’ grant funding and ordered

them to stop work without notice, explanation, or reasonable recourse, and in non-

compliance with the terms of the grants.

      63.    Defendants’ suspension of plaintiffs’ grant funding and order to stop

work was arbitrary, capricious, unconstitutional, and not in accordance with law.

                          FOURTH CAUSE OF ACTION

      Violation of the APA—Unlawful Impoundment of Appropriated Funds
   (Defendants Department of State, USAID, Secretary Rubio, OMB, and Acting
                               Director Vought)

      64.    The APA authorizes this Court to hold unlawful and set aside final

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law” and “compel agency action unlawfully withheld or

unreasonably delayed.” 5 U.S.C. § 706(1), (2)(A).

      65.    Defendants lack discretion to arbitrarily suspend or terminate existing

grants for which Congress has appropriated funding.



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      66.    Defendants’ actions with respect to plaintiffs’ grants constitutes the

unlawful impoundment of appropriated funds, contrary to the Further Consolidated

Appropriations Act of 2024, in violation of the APA.

                           FIFTH CAUSE OF ACTION

         Violation of the APA—Violation of the Impoundment Control Act
   (Defendants Department of State, USAID, Secretary Rubio, OMB, and Acting
                               Director Vought)

      67.    The APA authorizes this Court to hold unlawful and set aside final

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law” and to “compel agency action unlawfully withheld or

unreasonably delayed.” 5 U.S.C. § 706(1), (2)(A).

      68.    The Congressional Budget and Impoundment Control Act of 1974 (the

Impoundment Control Act) requires the President to make appropriated funds

“available for obligation,” unless the President sends a special message to Congress

detailing a request to rescind or reserve funds and Congress then passes a rescission

bill rescinding the funding. 2 U.S.C. § 683.

      69.    The President has not transmitted a special message to Congress

requesting that foreign assistance funding be rescinded, and Congress has not

rescinded appropriations for foreign assistance. The President is thus required by the

Impoundment Control Act to expend the appropriated funding.

      70.    Defendants’ suspension of plaintiffs’ grant despite the congressional

appropriation, and statements that the money will not be spent, is contrary to the

Impoundment Control Act, in violation of the APA.




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                           SIXTH CAUSE OF ACTION

            Violation of the APA—Violation of the Anti-Deficiency Act
   (Defendants Department of State, USAID, Secretary Rubio, OMB, and Acting
                                Director Vought)

      71.    The APA authorizes this Court to hold unlawful and set aside final

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law” and “compel agency action unlawfully withheld or

unreasonably delayed.” 5 U.S.C. § 706(1), (2)(A).

      72.    The Anti-Deficiency Act provides, in relevant part, that “[i]n

apportioning or reapportioning an appropriation, a reserve may be established only—

(A) to provide for contingencies; (B) to achieve savings made possible by or through

changes in requirements or greater efficiency of operations; or (C) as specifically

provided by law.” 31 U.S.C. § 1512(c)(1) (emphasis added).

      73.    Defendants’ decision to freeze plaintiffs’ grant funding results in an

unlawful reserve, contrary to the Anti-Deficiency Act, in violation of the APA.

                             PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray that this Court:

      (A) Declare defendants’ suspension of foreign aid assistance unlawful;

      (B) Enjoin defendants from enforcing the Executive Order, the January 24

communiqué, and the stop-work orders issued to plaintiffs pertaining to their foreign

assistance awards;

      (C) Order defendants to immediately reinstate foreign assistance funding and

to continue to administer all foreign aid assistance awards to the same extent and in




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the same manner as prior to the unlawful suspension, as provided in the terms of the

awards;

      (D) Award plaintiffs their costs and reasonable attorney fees; and

      (E) Grant such other relief as this Court may deem just and proper.

Dated: February 10, 2025              Respectfully submitted,

                                      /s/ Lauren E. Bateman
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